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                       United States Bankruptcy Court
                       _______________
                       Northern        District Of _______________
                                                   Indiana

     Troy Tyrone Curry and Makeeba Johari Curry                 17-30047




U.S. Bank Trust National Association, as Trustee of             U.S. Bank Trust, N.A., as Trustee
the Bungalow Series IV Trust
                                                                for LSF10 Master Participation Trust


                                                                                        2-1
                                                                                $140,185.40
c/o SN Servicing Corporation                                                    02/15/2017
323 Fifth Street
Eureka, CA 95501
         800-603-0836                                                  800-401-6587
                                 5066                                                     8859




    /s/ Michelle Ghidotti-Gonsalves                                  September 11, 2020
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                     United States Bankruptcy Court
                     _______________
                     Northern        District Of _______________
                                                 Indiana


   Troy Tyrone Curry and Makeeba Johari Curry                17-30047




          2-1

                                                                09/11/2020




U.S. Bank Trust, N.A., as Trustee for                                   U.S. Bank Trust National Association, as
LSF10 Master Participation Trust                                        Trustee of the Bungalow Series IV Trust



Caliber Home Loans Inc                                                   c/o SN Servicing Corporation
13801 Wireless Way                                                       323 Fifth Street
Oklahoma City, OK 73134                                                  Eureka, CA 95501
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                                                                                                        (800) 603-0836
                                                                                       Para Español, Ext. 2660 o 2643
          323 5TH STREET                                                             8:00 a.m. – 5:00 p.m. Pacific Time
          EUREKA CA 95501                                                                     Main Office NMLS
                                                                                            Branch Office NMLS



                                                                                                          May 12, 2020

                                                                               SnscLoanID0000305066
 TROY T CURRY
 30426 STONE EDGE DR
 ELKHART IN 46514



RE: New Loan Numbe
    Old Loan Number:
    Collateral: 30426 STONE EDGE DRIVE; ELKHART IN

Dear Customer:

This notice is being sent to you in accordance with the Federal Fair Debt Collection Practices Act, 15 U.S.C.
§§1692 et seq.

As of the date of this letter, our records indicate the total amount of your debt is $138,964.34. Because of
interest, late charges and other charges that may vary from day to day, the amount due on the day you pay
may be greater. Hence, if you pay the amount shown above, an adjustment may be necessary after we
receive your check, in which event we will inform you before depositing the check for collection. For further
information, write the undersigned or call (800) 603-0836.

Bungalow Series IV Trust is the creditor to whom the debt is owed. However, SN Servicing Corporation, a
debt collector, is responsible for servicing and collecting the debt .

Unless you dispute the validity of the debt or any portion of the debt within thirty (30) days after your receipt of
this letter, we will assume that the debt is valid.

If you notify us in writing within thirty (30) days after your receipt of this letter that you dispute the debt or any
portion of the debt, we will obtain verification of the debt or a copy of any judgment against you and we will
mail you a copy of such verification or judgment.

We will provide you with the name and address of the original creditor on the debt, if different from the current
creditor, if you request this information in writing within thirty (30) days after your receipt of this letter.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
bankruptcy, please read the next paragraph carefully for some important information.

NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.

SN Servicing Corporation for Bungalow Series IV Trust
Customer Service Department
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                                                                                                      (800) 603-0836
                                                                                     Para Español, Ext. 2660 o 2643
         323 5TH STREET                                                            8:00 a.m. – 5:00 p.m. Pacific Time
         EUREKA CA 95501                                                                    Main Office NMLS
                                                                                          Branch Office NMLS



                                                                                                        May 5, 2020

                                                                             SnscLoanID0000305066
 TROY T CURRY
 30426 STONE EDGE DR
 ELKHART IN 46514



RE: New Loan Numb
    Old Loan Number
    Collateral: 30426 STONE EDGE DRIVE; ELKHART IN

            NOTICE OF ASSIGNMENT, SALE, OR TRANSFER OF SERVICING RIGHTS
Dear Customer:

The notice, which follows, is intended to inform you that the servicing of your mortgage loan has been
assigned, sold or transferred. If the above-referenced loan is a closed-end, first lien, 1-4 unit residential (e.g.,
homes, condominiums, cooperative units and mobile homes) mortgage loan, this notice is being provided to
you under Section 6 of the Real Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605). When a state
law requires this notice, this notice is being provided to you under state law. When neither Section 6 of
RESPA nor state law requires this notice, this notice is being provided to you for your information.
You are hereby notified that the servicing of your mortgage loan, that is, the right to collect payments from
you, has been assigned, sold or transferred from Caliber Home Loans Inc to SN Servicing Corporation for
Bungalow Series IV Trust, effective May 1, 2020.

The assignment, sale, or transfer of the servicing of the mortgage loan does not affect any term or condition of
the mortgage instruments, other than terms directly related to the servicing of your loan.

Except in limited circumstances, the law requires that your present servicer send you this notice at least 15
days before the effective date of transfer, or at closing. Your new servicer must also send you this notice no
later than 15 days after this effective date or at closing.

Your present servicer is Caliber Home Loans Inc, PO Box 24610, Oklahoma City, OK 73124-0610. If you
have any questions relating to the transfer of servicing from your present servicer call Customer Service at
(800) 401-6587 Monday through Friday between 8:00 a.m. and 5:00 p.m. Central Time. This is a toll-free
number.

Your new servicer will be SN Servicing Corporation.

The correspondence address for your new servicer is SN Servicing Corporation, 323 Fifth St, Eureka, CA
95501.

The toll-free telephone number of your new servicer is (800) 603-0836. If you have any questions relating to
the transfer of servicing to your new servicer call Donna Davis at (800) 603-0836 Monday through Friday
between 8:00 a.m. and 5:00 p.m. Pacific Time. You may access your account and make payments via our
secure website at https://borrower.snsc.com.

The date that your present servicer will stop accepting payments from you is April 30, 2020. The date that
your new servicer will start accepting payments from you is May 1, 2020. Send all payments on or after May
1, 2020 to your new servicer.
Make your payments payable to:        SN Servicing Corporation

Mail your payments to:                SN Servicing Corporation
                                      PO BOX 660820
                                      DALLAS, TX 75266-0820

The transfer of servicing rights may affect the terms of or the continued availability of mortgage life or disability
insurance or any other type of optional insurance in the following manner: SN Servicing Corporation will not
continue to accept your insurance payments as a part of your monthly loan payment nor will it be responsible
for the continuation of any such optional insurance coverage. You should take the following action to maintain
coverage: contact your optional insurance carrier immediately for instructions on how to continue such
optional insurance coverage.
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You should also be aware of the following information, which is set out in more detail in Section 6 of the Real
Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605):

During the 60-day period following the effective date of the transfer of the loan servicing, a loan payment
received by your old servicer before its due date may not be treated by the new loan servicer as late, and a
late fee may not be imposed on you.

Section 6 of RESPA (12 U.S.C. §2605) gives you certain consumer rights. If you send a “qualified written
request” to your loan servicer concerning the servicing of your loan, your servicer must provide you with a
written acknowledgment within 5 Business Days of receipt of your request. A “qualified written request” is a
written correspondence, other than notice on a payment coupon or other payment medium supplied by the
servicer, which includes your name and account number, and your reasons for the request. If you want to
send a “qualified written request” regarding the servicing of your loan, it must be sent to this address: SN
Servicing Corporation, 323 Fifth St, Eureka, CA 95501.

Not later than 30 Business Days after receiving your request, your servicer must make any appropriate
corrections to your account, and must provide you with a written clarification regarding any dispute. During
this 30-Business Day period, your servicer may not provide information to a consumer reporting agency
concerning any overdue payment related to such period or qualified written request. However, this does not
prevent the servicer from initiating foreclosure if proper grounds exist under the mortgage documents.

A Business Day is a day on which the offices of the business entity are open to the public for carrying on
substantially all of its business functions.

Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals in
circumstances where servicers are shown to have violated the requirements of that Section. You should seek
legal advice if you believe your rights have been violated.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
bankruptcy, please read the next paragraph carefully for some important information.

NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.
A consumer has the right to request in writing that a debt collector or collection agency cease further
communication with the consumer. A written request to cease communication will not prohibit the debt
collector or collection agency from taking any other action authorized by law to collect the debt.


SN Servicing Corporation for Bungalow Series IV Trust
Customer Service Department
